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           EXHIBIT A



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                 Genel'al Commercial Framework Agreement
This General Commercial Framework Agreement (the "Agreement") is entered into
effect as of June 3, 20 17, (the "Effective Date"), by and between Corning Incorporated, a
corporation organized under the laws of the State of New York having its ·executive
offices at One Riverfront Plaza, Corning, New York, on behalf of itself and its affiliates,
("Corning"), and Dongguan Jingbo Optoelectronics Co., Ltd, a corporation organized
under the laws of China having its executive offices at No. 2 Zbenglongheng Rd., Hi-
Tech Park, Tangxia, Dongguan, China ("Finisher").

                                       Background

Corn ing manufactures, markets and sells Corning® Gorilla® Glass, an optic'al quality
glass optimized for display applications, including touch screen displays ("Gorilla
Glass"). Gorilla Glass is scratch resistant, durable and retains its optical characteristics
after extended use. Gorilla Glass is manufactured using Corning's proprietary fusion
draw technology which provides a smooth, pristine surface that does not require further
polishing and enhances finishing operations. Gorilla Glass is used in portable electronic
devices but has many potential applications where a mggedized touch screen is desired.

Finisher has the capabil ity to edge, cut and generally perform finishing services on glass
products, including premium glass products such as Gorilla Glass.

Corning has discussed collaborating with Finisher to promote thei r combined capabilities
to manufacturers of electronic products where strengthened glass is required, including
manufacturers who produce such products or applicable subassemblies on a private-label
or OEM basis, and to part ies who themselves manufacture or engage others to
manufacture for them on a private-label or OEM basis.

Jn consideration of the premises and the promises set forth below, Corning and Finisher
agree as follows:

l.     Definitions. Certain capitalized terms not defined immediately prior to their first
appearance in this Agreement shall have the followi ng meaning ascribed to them:

        (a)    "Field" means medical imaging devices or consumer electronic devices,
including but uot limited to mobile phones, digital music players, personal digital
assistants, computers, laptops, netbooks, and other electronic devices.

        (b)     "Prospective Customer(s)" means manufacturers of electronic products
where strengthened glass is required, including manufacturers who produce such
electronic products or applicable subassemblies on a private-label or OEM basis, and to
parties who themselves manufacture or engage others to manufacture for them on a
private-label or OEM basis.                                                 ·




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        (c)    "Corning Know-How" means know-how, processes, formulae, and other
teachings owned, developed or licensed by Corning that may be used to perform certain
services required to provide a finished glass product.

        (d)     "Improved Impact Resistance Technology" shall mean Corning's
proprietary technology, including trade secrets, know-how, processes, formulae, and
other teachings, to improve component level impact resistance. This includes 'but is not
limited to the technology and information which is disclosed in




                                                                                      , and
any other issued U.S. or Foreign Patent or filed Patent Application directly or .indirectly
claiming or entitled to claim the benefit of priority from such patent, application, or a
divisional, continuation, continuation-in-part, reissue, reexamination, substitute or
extension thereof.

        (e)    "Corning's Improved Component Level Impact Resistance/Drop
Performance Technology" shall mean Coming's proprietary technology, including trade
secrets, know-how, processes, formulae, and other teachings, related glass articles which
exhibit improved component level impact resistance/drop perfonnance. This. includes,
but is not limited to the technology and information which is disclosed in U.S. Patent
Application Nos.




                                                                       and any other issued
  . . or ore1gn Patent or filed Patent Application directly or indirectly claiming or
entitled to claim the benefit of priority from such patent, or a divisional, continuation,
continuation-in-part, reissue, reexamination, substitute or extension thereof.




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            (h)     "Corning Technology" means Corning Know-How, Corning's .Improved
    Impact Resistance Technology, Cornin 's Im roved Com onent Level Im act
    Resistance/Drop Performance Technology,
                                      as defined above. For the avoidance of doubt, the
    Corning Know-How which Corning discloses or otherwise makes available to Finisher,
    either prior to or during the Term of this Agreement shall be documented in Appendix A
    hereto. Further, as New Corning Technology is identified, it shall be added to Appendix
    A as well, if it is transferred to Finisher. Prior to any Corning Technology or New
    Corning Technology being transferred to Finisher, both Parties must agree to the
    proposed transfer of the technology, and the technology must be documented and added
    to Appendix A, as agreed to by both Patties. Each such updated version of Appendix A
    shall be incorporated herein by reference without need for formal amendment of this
    Agreement.

           (i)     "New Finisher Technology" means an invention, trade secret, know how,
    process, formulae, or teaching that is first invented, developed or conceived solely by
    personnel either employed or furnished by Finisher.                                       I
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    2.




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3.     Limited License to Practice Corning Technology.                                     1
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              In connection with Corning's sale of Gorilla Glass to Finisher,              .'

                                                                              Coming       .
                                                                                           ,
anticipates that it will transfer certain information and instrnct Finisher on the
implementation of Corning Technology to enable Finisher to perform the services
requested of it or agreed to be performed b it for its Pros ective Customers.




       (b)    In any event, any Corning Technology provided or otherwise disclosed to
Finisher by Corning or any of its affiliates, shall be subject to the following:

                      1.      Corning Technology shall be owned solely and e).{clusively
by Coming. Corning retains the ownership of all intellectual property and other
proprietary rights in and to all Corning Technology. Nothing in this Agreement, other
than as specifically set forth in this clause 3, grants any right or license under any
Corning Technology to Finisher.



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                   ii.        Coming Technology may only be practiced on Gorilla
Glass purchased by Finisher from Corning.

                    111.    Finisher may use Corning's Improved Component Level
Impact Resistance/Drop Performance Technology only on Corning glass and only for
such customers and products as approved by Corning in writing. Use or disclosure of
Corning,s Improved Component Level Impact Resistance/Drop Performance
Technology to or for a customer or third party not approved by Corning will be
deemed a material breach of this Agreement.

                    iv.      Corning Technology shall be protected from further
disclosure or misuse by Finisher in the same manner as it protects its own trade secrets,
but in any event reasonable care must be taken to protect such technology from further
disclosure or misuse.

                    v.        Corning and its representatives shall have the right to
review and inspect Finisher's operations and security procedures to ensure that Finisher is
using reasonably prudent and diligent efforts to protect Corning Technology from further
disclosure and/or misuse and to confirm Finisher's compliance with the terms of this
Agreement.                                                                      ·              J


                    vi.        The limited license to use Corning>s Technology may not
be assigned, transferred, conveyed, or sub-licensed to any party by Finisher under any
circumstances, even if Finisher undergoes a corporate change-in-control transaction such
as (although not limited to) a merger or otherwise.

                     vii.       The limited license to use Coming's Techt}ology is
revocable by Corning at any time upon a breach or default by Finisher of any duty,
liability, obligation, representation, or covenant assumed by it in this Agreement or an
Addendum.

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 6.     Representations and Covenants

        (a)    Finisher represents, warrants and covenants that it will not use any
. Corning Technology other than as pern1itted in clause 3(b) above.




        (c)     Finisher represents and warrants that it will use all reasonably prudent and
diligent efforts to protect Corning Technology from unauthorized disclosure and/or
misuse.

        (d)    Any breach or threatened breach or alleged breach of a representation,
warranty, or covenant provided in this clause 6 will not be adequately compensated by
damages at law. Accordingly, the injured Party is entitled, in addition to all other remedies
available, to equitable relief by injunction or otherwise to enforce its rights and require
compliance by the breaching or defaulting Paity with the representations, warranties and
covenants assumed in this clause 6, without the necessity of proving that money darhages
alone would not provide adequate compensation and without the necessity of posting a bond.
This clause 6 shall survive the expiration or termination of this Agreement for any reason
whatsoever.




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8.     Confidential Information.

       (a)     All information disclosed or otherwise made known to Finisher by
Corning pursuant to this Agreement shall be deemed proprietary and confidential
information belonging solely to Corning and may not be used or disclosed by Fi'nisher for
any purpose other than in fulfillment of Finisher's obligations owing to Corning under
this Agreement and each written Addendum entered into hereunder. This obligation shall
survive the expiration or earlier termination of this Agreement for any reason whatsoever
in perpetuity.

       (b)    Finisher acknowledges that this Agreement is deemed to be proprietary
                                                                                            l
and confidential information belonging to Corning. Finisher will not disclose this
Agreement or the contents of any Addendum to any third party without Corning's prior
written consent which it may grant or withhold at its sole discretion.

        (c)    Finisher agrees that the unauthorized disclosure of any information          .-
disclosed or otherwise made known to Finisher by Corning pursuant to this Agreement,
including but not limited to the transfer and licensing of technology and know-how under
Section 4 of this Agreement, is a material breach of the Agreement and damages to
Coming will be difficult to determine.




       (d)     Finisher agrees to allow Corning and/or a third party designated by
Corning, subject to appropriate confidentiality agreements with Finisher and Corning, to
verify that Finisher is in compliance with this Section 7, Confidential Information, and
with the terms and conditions of the Agreement.

9.     Tenn.

        (a)   Unless earlier terminated in accordance with its terms, this Agreement
shall remain valid and effective for a period of one (l) year from its Effective Date.


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Thereafter, this Agreement shall automatically renew for consecutive terms of 12 months
each, unless and until one party notifies the other of its intention to terminate this
Agreement at least sixty (60) calendar days prior to the expiration of the 12-month term.

       (b)     This Agreement may be terminated by written agreement of Corning and
Finisher.

        (c)     If Finisher breaches or defaults in the performance of any representation,
warranty, covenant, agreement, duty or obligation provided or undertaken to be
performed by it in this Agreement or any Addendum to this Agreement, Corning shall
have the right to terminate this Agreement and/or one or more then-outstanding Addenda,
as determined by Corning in its sole discretion, provided Finisher shall have thirty (30)
calendar days to address and cure Corning's concerns to Corning's reasonable
satisfaction.

         (d)     Without limiting any other provision of this Agreement, this Ag~eement is
tenninable by Corning or Finisher without charge, cost, penalty or expense, if the other
Party ceases to do business, elects to dissolve, dissolves, becomes insolvent, is unable to
pay debts as they become due, makes a general assignment for the benefit of creditors, or,
files, or has filed against it, a bankruptcy petition that is not dismissed within sixty (60)
calendar days of its filing.

         (e)     Neither Party shall be liable or responsible to the other Party for any
damages suffered or incurred, or owe an indemnification or obligation to the other, as a
result of the expiration or earlier termination of this Agreement in accordance with its
terms. All remedies available as a result of a breach of any agreement, covenant, or
representation contained in this Agreement shall survive termination of the Agreement.
Corning not be liable or responsible to Finisher for any damages suffered or incurred, or
owe an indemnification or obligation to Finisher, as a result of the failure of Corning and
its affiliates to order sufficient production services from Finisher hereunder to enable
Finisher to recoup the investment made by it or to realize the profits that it anticipated
realizing. Finisher has independently assessed the risks associated with its investment
and detennined that the risks associated with its prospective investment is manageable.

10.   No Joint Venture. Finisher and Corning are separate and distinct entities, and this
Agreement does not create a partnership, joint venture, or any common undertaking.

11.     Severable Terms. If any term of this Agreement is held invalid or unenforceable,
the remainder of this Agreement will not be affected and each other term will be valid to
the extent permitted by law.                                                   ·

12.     Survival. The following provisions of this Agreement are intended to survive the
expiration or earlier termination of this Agreement: clause I; clause 4; clause 5(a); clause
6; clause 8; clauses 9 - 16.




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13.    Entire Agreement. This Agreement constitutes the entire agreement and
understanding between Corning and Finisher with respect to its subject matter, and
supersedes all prior and contemporaneous agreements, commitments, understandings,
undertakings and representations with respect to the same.

14.    Amendments. No modification, amendment, or alteration of this Agreement or
any Addendum will be binding on Corning or Finisher unless executed in writing by an
authorized representative of Corning and Finisher.

15.     Waivers. No waiver of any of the provisions of this Agreement or any Addendum
will be deemed a waiver of any other provision, or a continuing waiver. No waiver will
be binding unless executed in writing by the Party to be charged.

16.     Governing Law & Dispute Resolution. The construction and performance of this
Contract shall be in accordance with the law of the State of New York (apart from its
conflict of laws principles). All disputes, controversies or differences which may arise
out of or relating to this Agreement, or the breach, termination or invalidity thereof, that
the Parties are unable to resolve through good faith negotiation shall be exclusively and
finally settled by litigation to be conducted exclusively before the U.S. Federal District
Court located in the Western District of New York.

1N WITNESS WHEREOF, this Agreement has been executed for and on behalf of each
Party by its duly authorized representative noted below.


Coming Incorporated                                                 Dongguan Jingbo Optoelectronics
                                                                    Co., Ltd.


By:--~
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Appendix A ............. Corning Technology Disclosed




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                                       APPENDIX A

               CORNING TECHNOLOGY DISCLOSED TO FINISHER
                      & NEW CORNING TECHNOLOGY


1.       Corning technology including but not limited to t.he fo llowing:

     • Process information and related know-how
     • Process metrology and product melrology
     • Equipment functional specifications
     • Incoming material specifications
     • Surface protection processes
     • Engineering vendor recommendation(s)
     •   Equipment vendor recommendalion(s)
     •   Key vendor and material supplier recommendations



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            EXHIBIT C



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